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                  Exhibit A
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                                                                                                                         Tiki Brown
                                                                                                                Clerk of State Court
                                                                                                           Clayton County, Georgia
                                                                                                               Waukecia Lawrence

                            IN THE STATE COURT OF CLAYTON COUNTY GEORGIA


             MEEKA DOUGLAS,                        :
             125 Valleydale Drive                  :
             Stockbridge, GA 30281                 :
                                  Plaintiff,       :
                                                   :
                      v.                           :
                                                   :                         2021CV02255
                                                                   Case No. ______________________
             CARRABBA’S ITALIAN GRILL, LLC :
             1887 Mt. Zion Road                    :               JURY TRIAL DEMANDED
             Morrow, GA 30206                      :
                                                   :
                      And                          :
                                                   :
             XYZ CORPORATION                       :
             Fictitious Parent or Holding Company  :
             of Defendant Carrabba’s Italian Grill :
             LLC to be added when ascertained      :
                                   Defendants.     :


                                            COMPLAINT FOR DAMAGES

                                                              1.

                    Plaintiff Meeka Douglas is and, at all times relevant, was a resident of Clayton County,

             Georgia, residing at 125 Valleydale Drive, Stockbridge, GA 30281.

                                                              2.

                    Defendant Carrabba’s Italian Grill, LLC, at all times relevant, is a foreign limited liability

             company doing business at 1887 Mt. Zion Road, Clayton County, Morrow, GA 30260. Service

             can be perfected on Defendant Carrabba’s by servcing its registered agent Corporate Creations

             Network, Inc., 2985 Gordy Parkway, 1st Floor, Marietta GA 30066.

                                                              3.

                    Defendant XYZ Corporation is any unknown parent or holding company of Defendant




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             Carrabba’s Italian Grill, LLC, which through its supervision and management, or lack thereof,

             of Defendant Carrabba’s Italian Grill, LLC, caused or contributed to causing Plaintiff’s injuries

             and damages complained of herein. Any such fictions entity will be added as a party defendant

             herein when ascertained.

                                                                4.

                    On October 15, 2019 at about 830 P.M., Plaintiff and her husband were invitees of

             defendants having dinner at the aforesaid restaurant at 1887 Mr. Zion Road, Morrow, GA.

                                                                5.

                    As their invitee, Defendants owed Plaintiff an affirmative duty to exercise ordinary care

             to keep their restaurant safe, clean and free from hazardous conditions.

                                                                6.

                    Additionally, as their invitee, Defendants owed Plaintiff a duty to inspect its restaurant

             for unsafe conditions. a duty to warn Plaintiff of unsafe conditions, and a duty to eliminate

             hazardous conditions.

                                                                7.

                    After finishing her dinner, Plaintiff went to Defendants’ restroom located within the

             restaurant.

                                                             8.

                    After entering the restroom and approaching the sink, without warning and without a

             reasonable opportunity to recognize and avoid injury, Plaintiff was caused to violently slip and

             stumble as a result of water or another transitory substance underfoot on the restroom floor.

                                                           9.

                    Plaintiff states that at all times she was exercising due care for her own safety, not

             distracted, and did not observe any wet floor sign or any other warning prior to slipping.




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                                                              10.

                      After regaining her balance and composure, Plaintiff immediately returned to her table

             and informed Defendants’ manager (Lester Gilbert) and waitress (Anna) of slipping and

             stumbling. Whereupon, Defendants’ waitress entered the restroom and mopped the substance

             up. The waitress reported back stating she “mopped the floor but could not find the wet floor

             sign.”

                                                              11.

                      Defendants knew, or in the exercise of reasonable and ordinary care, should have known

             of the hazardous restroom condition, or Defendants created the hazardous condition either

             through the acts of its employees in their negligent maintenance of the restroom, or their

             negligent failure to properly inspect the restroom, or their negligent methods of operation.

             Defendants therefore breached its duty to correct or warn of the wet bathroom floor.

                                                              12.

                      Additionally, Defendants should have previously installed a non-slip surface which

             would have prevented Plaintiff’s violently slip and stumble..

                                                             13.

                      As a direct and proximate result of Defendants’ negligence, Plaintiff suffered

             musculoskeletal injuries, a disc herniation, back pain, shoulder pain, future pain and suffering,

             medical bills, loss of income, future medical bills, loss of enjoyment of life and such or damages

             which shall be proven at trial.

                                                       12.

                      Without limitation, Plaintiff has incurred the following special damages to date: (1)

             Atlanta Health Unlimited (Chiropractor) $4.500, (2) American Health Imaging $2,370, (3)

             Peachtree Spine Physicians $3,000 (e), (4) loss wages $1,000. (5) pain and suffering $25,000,

             and (6) future medicals $50,000 (e). Plaintiff reserves the right to amend this list of specials.




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                    WHEREFORE, Plaintiff prays for judgment as follows:

                    a)     That Plaintiff be awarded judgment against Defendants for special, general and

                           compensatory damages in an amount to be determined at trial;

                    b)     A trial by jury in this cause; and

                    c)     Such other and further relief as this Court deems just and proper.


                                                                /s/ Ronald B. Hatcher_________
                                                            Ronald B. Hatcher,Esq.
                                                            Attorney for Plaintiff
                                                            GA Bar No. 337380
                                                            P O Box 161442
                                                            Atlanta, GA 30321
                                                            (404) 526-9440
                                                            rhatcherlaw@gmail.com




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                                                                                                 Clerk of State Court
                                                                                            Clayton County, Georgia
                                                                                                Waukecia Lawrence




                                                                       2021CV02255




                  W. Lawrence




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                                                                                                          Tiki Brown
                                                                                                 Clerk of State Court
                                                                                            Clayton County, Georgia
                                                                                                Waukecia Lawrence




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                                                                                                     Tiki Brown
                                                                                            Clerk of State Court
                        IN THE STATE COURT OF CLAYTON COUNTY                           Clayton County, Georgia
                                                                                             Quiyanna Thomas


                                     STATE OF GEORGIA

  MEEKA DOUGLAS,

       Plaintiff,                                  Civil Action
                                                   File No.:      2021CV02255

  v.

  CARRABBA'S ITALIAN GRILL, LLC, and
  XYZ CORPORATION,

       Defendants.


          CARRABBA'S ITALIAN GRILL, LLC’S DEFENSES AND ANSWER

        COMES NOW, Carrabba's Italian Grill, LLC, named Defendant in the above styled

action, and files the following Defenses and Answer to Plaintiff’s Complaint and shows the

Court as follows:

                                      FIRST DEFENSE

        The Complaint fails to set forth a claim against this Defendant upon which relief can

be granted.

                                    SECOND DEFENSE

        For a Second Defense, the Defendant answers the numbered paragraphs of the

Complaint as follows:

                                              1.

        Defendant is without knowledge or information sufficient to form a belief as to the

truth of the averments contained in Paragraph 1 of the Complaint and, therefore, cannot

admit or deny same.
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                                            2.

       Defendant admits the allegations contained in Paragraph 2 of the Complaint.

                                            3.

       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the averments contained in Paragraph 3 of the Complaint and, therefore, cannot

admit or deny same.

                                            4.

       Upon information and belief, Defendant admits the allegations contained in

Paragraph 4 of the Complaint.

                                            5.

       Defendant admits it owes certain duties under Georgia law to individuals on its

premises. Responding further, Defendant denies the remaining allegations contained in

Paragraph 5 of Plaintiff’s Complaint.

                                            6.

       Defendant admits it owes certain duties under Georgia law to individuals on its

premises. Responding further, Defendant denies the remaining allegations contained in

Paragraph 6 of Plaintiff’s Complaint.

                                            7.

       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the averments contained in Paragraph 7 of the Complaint and, therefore, cannot

admit or deny same.

                                            8.

       Defendant denies, as pled, the allegations contained in Paragraph 8 of the

Complaint.


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                                           9.

      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the averments contained in Paragraph 9 of the Complaint and, therefore, cannot

admit or deny same.

                                          10.

      Defendant denies, as pled, the allegations contained in Paragraph 10 of the

Complaint.

                                           11.

      Defendant denies the allegations contained in Paragraph 11 of the Complaint.

                                           12.

      Defendant denies the allegations contained in Paragraph 12 of the Complaint.

                                           13.

      Defendant denies the allegations contained in Paragraph 13 of the Complaint.

                                        12. [sic]

      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the averments contained in Paragraph 14 (improperly numbered as Paragraph 12)

of the Complaint and, therefore, cannot admit or deny same.

                                           15.

      Defendant denies that Plaintiff is entitled to any relief requested in the

WHEREFORE paragraph of the Complaint, including subparagraphs a) through c).

                                           16.

      Any allegation of the Complaint not admitted, denied or otherwise responded to

above is hereby denied.




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                                      THIRD DEFENSE

       Defendant is not liable to Plaintiff because Defendant breached no duty owed to

Plaintiff in regard to the occurrence giving rise to this Complaint.

                                    FOURTH DEFENSE

       Defendant shows that the alleged damages of Plaintiff, if any, were caused by the

contributory and comparative negligence of Plaintiff.

                                      FIFTH DEFENSE

       Plaintiff, by the exercise of ordinary care, could have avoided the consequences of

any act or failure to act of Defendant.

                                      SIXTH DEFENSE

       Defendant is not liable to Plaintiff because the negligence of Plaintiff equaled or

preponderated over any acts or omissions of Defendant in producing or in bringing about

the occurrence complained of, but Defendant denies that any act of Defendant produced,

brought about, caused, or contributed to in any manner whatsoever the occurrence

complained of in the Complaint.

                                    SEVENTH DEFENSE

       Plaintiff’s injuries, if any, were caused by an unforeseeable intervening third party

tortfeasor and/or the acts and failure to act of persons or entities other than Defendant.

                                     EIGHTH DEFENSE

       The Complaint should be dismissed for lack of jurisdiction over the subject matter,

lack of jurisdiction over the person of this Defendant, improper venue, and insufficiency of

process and service of process as to this Defendant.




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                                      NINTH DEFENSE

       In the event that any benefits have been paid by or on behalf of Defendant,

Defendant is entitled to a set off against any verdict for the amount of benefits paid. See,

Orndorff v. Brown, 197 Ga. App. 591 (1990).

       WHEREFORE, having fully answered, Defendant prays that the Complaint be

dismissed with costs of this action cast against the Plaintiff.

       This 3rd day of November, 2021.

                                     Goodman McGuffey LLP
                                     Attorneys for Carrabba's Italian Grill, LLC


                             By:     /s/Robert A. Luskin_____________
                                     Robert A. Luskin
                                     GA State Bar No.: 004383
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                                     Katherine I. Barton
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                                     Atlanta, GA 30326-1084
                                     (404) 264-1500 Phone
                                     (404) 264-1737 Fax


DEFENDANT DEMANDS
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                       IN THE STATE COURT OF CLAYTON COUNTY

                                     STATE OF GEORGIA

  MEEKA DOUGLAS,

       Plaintiff,                                  Civil Action
                                                   File No.:      2021CV02255

  v.

  CARRABBA'S ITALIAN GRILL, LLC, and
  XYZ CORPORATION,

       Defendants.



                                CERTIFICATE OF SERVICE

        This is to certify that I have this day served all counsel and parties of record with a

copy of Carrabba’s Italian Grill, LLC’s Defenses and Answer by statutory

electronic service pursuant to O.C.G.A. § 9-11-5(b) or by depositing a copy of same in the

United States Mail, postage prepaid, as follows:

                                   Ronald B. Hatcher, Esq.
                                      P O Box 161442
                                     Atlanta, GA 30321


        This 3rd day of November, 2021.




                             By:    /s/Robert A. Luskin__________
                                    Robert A. Luskin
                                    GA State Bar No.: 004383
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                                    Goodman McGuffey LLP
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